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                                UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

     Donald Bratton, et al.,                            §    CIVIL ACTION NO.
                  Plaintiffs,                           §    4:21-cv-02165
                                                        §
                                                        §
            vs.                                         §    JUDGE CHARLES ESKRIDGE
                                                        §
                                                        §
     Union Pacific Railroad Co., et al.,                §
                   Defendants.                          §
                                                        §

                       JOINT DISCOVERY AND CASE MANAGEMENT PLAN

1.     State where and when the parties held the meeting required by Rule 26(f). Identify
       the counsel who attended for each party.

       Response:
            a. The parties held their Rule 26(f) meeting on August 5, 2021 at 1:30 p.m. and on
                August 10, 2021 at 10:00 a.m.
            b. Plaintiffs were represented by Wayne D. Collins.
            c. Defendant Union Pacific was represented by Earnest W. Wotring.
            d. Defendant ERM was represented by Erich J. Almonte.
            e. Defendant Pastor, Behling & Wheeler, LLC (“PBW”) was represented by David
                A. Dial.

2. List all related cases pending in any other state or federal court. Identify the court
   and case number. State the relationship.

       Response: There are several cases filed that are currently pending in Harris County District
       Court in which other plaintiffs in those cases are claiming that they have been exposed to
       various chemicals from the Houston Wood Preserving Site that are at issue in this case.
       The Plaintiffs contend the matters are related in that these residents have allegedly been
       exposed to the same toxic substances and have similar illnesses. There are no related
       matters in federal court.

           a. Anna Dorsey, et al. v. Union Pacific Railroad Co., et al., No. 2020-07396, in the 281st
              District Court of Harris County, Texas, on appeal to the Fourteenth Court of Appeals
              in Houston, No. 14-20-00308-CV;
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  b. Betty Chenier, et al. v. Union Pacific Railroad Co., et al., No. 2020-10063, in the 152nd
     District Court of Harris County, Texas, on appeal to the First Court of Appeals in
     Houston, No. 01-21-00073-CV;

  c. Elizabeth Phillips, et al. v. Union Pacific Railroad Co., et al., No. 2020-50604, in the 189th
     District Court of Harris County, Texas, on appeal to the Fourteenth Court of Appeals
     in Houston, No. 14-21-00112-CV;

  d. Ruth Adams-Taylor, et al. v. Union Pacific Railroad Co., et al., No. 2020-83850, in the
     269th District Court of Harris County, Texas, on appeal to the Fifth Court of Appeals
     in Dallas, No. 05-21-0281-CV;

  e. Victor Brown, et al. v. Union Pacific Railroad Co., et al., No. 2020-83852, in the 295th
     District Court of Harris County, Texas, on appeal to the Fourteenth Court of Appeals
     in Houston, No. 14-21-00275-CV;

  f. Dorothy Ceasar, et al. v. Union Pacific Railroad Co., et al., No. 2020-82642, in the 129th
     District Court of Harris County, Texas, on appeal to the First Court of Appeals in
     Houston, No. 01-21-00274-CV;

  g. Aldine Harrell, et al. v. Union Pacific Railroad Co., et al., No. 2021-03264, in the 189th
     District Court of Harris County, Texas, on appeal to the First Court of Appeals in
     Houston, No. 01-21-00348-CV;

  h. Edgar Harrison, et al. v. Union Pacific Railroad Co., et al., No. 2021-22019, in the 215th
     District Court of Harris County, Texas, on appeal to the Fourteenth Court of Appeals
     in Houston, No. 14-21-00435-CV;

  i. Lawrence Martin, et al. v. Union Pacific Railroad Co., et al., No. 2020-83855, in the 151st
     District Court of Harris County, Texas;

  j. Stella Taylor, et al. v. Union Pacific Railroad Co., et al., No. 2020-82707, in the 157th
     District Court of Harris County, Texas;

  k. Alvin Harris, et al. v. Union Pacific Railroad Co., et al., Case No. 2021-45196, in the
     334th District Court of Harris County, Texas;

  l. Andrea Alexander, et al. v. Union Pacific Railroad Co., et al., Case No. 2021-44936, in
     the 152nd District Court of Harris County, Texas; and

  m. Michelle Wilson, et al. v. Union Pacific Railroad Co., et al., No. 2021-45255, in the 333rd
     District Court of Harris County, Texas.




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3. Briefly describe what this case is about. Generally state the claims, defenses, and
   threshold issues that each party will likely assert.

    Response:

    Plaintiffs make Texas common law negligence claims for personal injury and wrongful
    death damages due to exposure to toxic and cancer-causing chemicals from a Site that
    owned by Union Pacific. The solid waste management for the site has been conducted by
    Union Pacific, ERM, and PBW under the laws of the State of Texas and administered by
    the Texas Commission on Environmental Equality. Plaintiffs make no property claims or
    any claims invoking federal subject matter jurisdiction.

    Defendants generally deny Plaintiffs’ allegations. ERM and PBW deny that they have ever
    operated the Site. Union Pacific contends that one of Plaintiffs’ allegations is that Union
    Pacific violated the federal RCRA law in making representations and obtaining permits
    from the Texas Commission on Environmental Quality to address contamination from
    the Site. Union Pacific denied that it violated RCRA and deny that Plaintiffs have suffered
    any injury or property damage from the Site or as a result of any act or omission of
    Defendants. Additionally, Defendants deny that they breached any duty owed to Plaintiffs
    and deny that they made any misrepresentation to Plaintiffs. Additionally, ERM denies
    that it breached any duty owed to Plaintiffs and denies that ERM made any
    misrepresentation to Plaintiffs.

4. Specify the basis of federal jurisdiction. Identify any parties who disagree and the
   reasons.

    Plaintiffs’ Response: Plaintiffs assert a Texas common law negligence action for wrongful
    death and personal injury damages. No federal diversity or subject matter jurisdiction
    exists.

    Defendants’ Response: Union Pacific removed this case to federal court based on federal-
    question jurisdiction under 28 U.S.C. § 1331 and 42 U.S.C. § 6972, as well as supplemental
    jurisdiction over state-law claims under 28 U.S.C. § 1367. Federal-question jurisdiction is
    based on RCRA exclusive jurisdiction under 42 U.S.C. § 6972 and a substantial federal
    question embedded in a state-law cause of action. Plaintiffs disagree that federal question
    jurisdiction exists and have advised that they intend to file a motion to remand.

5. List any anticipated additional parties. Identify the party who wishes to add them,
   briefly explain why, and indicate a date by which to do so.

    Response: Plaintiffs will amend its petition to include approximately 90 new plaintiffs.

6. List any anticipated interventions. Briefly explain why.



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   Response: None.

7. Describe any class-action or collective-action issues. Provide the proposed
   definition of the class. Identify and state generally the basis for any opposition.

   Response: There are no class-action or collective action issues in this matter.

8. State whether each party represents that it has completed its Rule 26(a) initial
   disclosures. If not, indicate the date by which each party will do so and describe
   arrangements in that respect.

   Response: The parties have not completed their Rule 26(a) initial disclosures. They will
   do so within 30 days of the Initial Pretrial Conference scheduled on August 26, 2021.

9. Apart from initial disclosures, specify other discovery served or accomplished to
   date.

   Response: The parties have not served other discovery.

10. Describe the proposed agreed discovery plan. At a minimum, include:

   a. Responses to all the matters raised in Rule 26(f), including agreements
      reached concerning electronic discovery and any disputed issues relating to
      electronic discovery;

       Plaintiffs’ Response: The parties are not requesting a change in the form of
       requirement for disclosures under Rule 26(a). They request that the Court permit
       them to provide their initial disclosures within 30 days of the Initial Pretrial
       Conference. Plaintiff anticipates taking discovery on (i) exposure to any chemicals
       from the Site, (ii) the timing, extent, and duration of any such exposures, (iii) Plaintiffs
       claim that exposure from the Site proximately caused any injuries, (iv) the alleged acts
       or omissions Plaintiffs claim create liability for Defendants, (v) inspection of physical
       property, drilling of monitoring wells, and establishment of air monitoring stations,
       and ( vi) nature and extent of the contamination and the timing of when the parties
       knew and how this was reported to the environmental regulatory agencies, the citizens
       of Fifth Ward, and/or the Securities and Exchange Commission, internal and outside
       financial auditors and other regulatory agencies.

       Defendants’ Response: Defendants anticipate taking discovery on the alleged factual
       bases for Plaintiffs’ claims, including (i) alleged exposure to any chemicals from the
       Site, (ii) the timing, extent, and duration of any such exposures, (iii) Plaintiffs claim
       that exposure from the Site proximately caused any injuries, and (iv) the alleged acts
       or omissions Plaintiffs claim create liability for Defendants. Defendants will be
       seeking releases from Plaintiffs to obtain complete copies of Plaintiffs’ medical


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   records. The parties will negotiate on a Protective Order and any additional order
   required for electronically stored information.

   Defendants request the entry of a Lone Pine Order that will require Plaintiffs to answer
   standard interrogatories and requests for production regarding their claimed exposure,
   personal injury, and proximate cause. See Acuna v. Brown & Root Inc., 200 F.3d 335,
   340 (5th Cir. 2000); Lore v. Lone Pine Corp., 1986 WL 637507, No. L–33606–85 (N.J.
   Super. Ct. 1986). Plaintiffs oppose entry of a Lone Pine Order. The parties have a
   disagreement over whether the Court’s July 15, 2021 Scheduling Order should be
   revised and extended given that 90 plaintiffs will be added to this matter. Defendants
   have filed their proposed Lone Pine Order as Exhibit A.

b. When and to whom the plaintiff anticipates it may send interrogatories,
   whether the Rule 33(a) limit of twenty-five per party should apply, and reasons
   for any requested adjustment.

   Response: All Defendants in the matter within thirty days after the Scheduling
   Conference.

c. When and to whom the defendant anticipates it may send interrogatories,
   whether the Rule 33(a) limit of twenty-five per party should apply, and reasons
   for any requested adjustment.

   Response: Defendants anticipate sending interrogatories to Plaintiffs within 30 days
   after the Scheduling Conference.

d. Of whom and by when the plaintiff anticipates taking oral depositions,
   whether the Rule 30(a)(2)(A) presumptive limit of ten depositions per side
   should apply, and reasons for any requested adjustment.

   Response: Plaintiff anticipates taking the depositions of Defendant corporate
   representatives, employees, agents, officers, directors, and/or agents, and experts, all
   person designated with knowledge of relevant facts, inside and outside auditors.
   Because of the number of anticipated parties, the presumptive limit of ten depositions
   of Rule 30(a)(2)(A) should not apply to this matter.

e. Of whom and by when the defendant anticipates taking oral depositions,
   whether the Rule 30(a)(2)(A) presumptive limit of ten depositions per side
   should apply, and reasons for any requested adjustment.

   Response: Defendants anticipate taking depositions of Plaintiffs, Plaintiffs’ healthcare
   providers, Plaintiffs’ expert witnesses, and other persons that Plaintiffs designate as
   having knowledge of relevant facts. Because of the number of anticipated parties, the



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          presumptive limit of ten depositions of Rule 30(a)(2)(A) should not apply to this
          matter.

    f.    When the plaintiff (or the party with the burden of proof on an issue) can
          designate experts and provide Rule 26(a)(2)(B) reports, and when the
          opposing party can designate responsive experts and provide their reports.

          Plaintiffs’ Response: Plaintiffs can designate experts and provide Rule 26(a)(2)(B)
          reports by April 26, 2022. Plaintiffs request that the Defendants designate experts
          and provide Rule 26(a)(2)(B) reports within 45 days after the Plaintiffs designations.

          Defendants’ Response: Defendants will need to review Plaintiffs’ anticipated
          amended pleading adding the additional plaintiffs prior to determining when they can
          designate expert witnesses, but anticipate requiring at least 60 days after Plaintiffs’
          reports before designating Defendants’ experts and producing Defendants’ expert
          reports.

    g. List expert depositions the plaintiff (or the party with the burden of proof on
       an issue) anticipates taking and their anticipated completion date.

          Response: Plaintiffs anticipate deposing the expert(s) that Plaintiffs designate on
          liability and damage issues.

    h. List expert depositions the opposing party anticipates taking and their
       anticipated completion date.

          Response: Defendants anticipate deposing the expert(s) that Plaintiffs designate on
          liability and damage issues.

11. State the date by which the parties can reasonably complete the planned discovery.

         Response: Defendants need to review Plaintiffs’ anticipated pleading adding additional
         parties before determining when the parties can reasonably complete the planned
         discovery.

12. If the parties disagree on any part of the discovery plan, describe the separate views
    and proposals of each party.

    Response: The parties disagree on whether a Lone Pine Order should be entered and
    disagree on whether the addition of 90 plaintiffs will require the Court to issue a new
    Scheduling Order.




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13. Discuss the possibilities for a prompt settlement or resolution of the case at your
    Rule 26(f) meeting. Identify such possibilities. Describe what each party has done
    or agreed to do to bring about a prompt resolution of this dispute.

    Response: After being given an opportunity to obtain discovery regarding Plaintiffs’
    specific claims and the bases for them, Defendants are willing to discuss mediation.

14. Counsel to each party must discuss with their client the alternative dispute
    resolution techniques that are reasonably suitable to this case. Identify such
    potential techniques. State when the parties may effectively use any such
    technique.

    Response: After being given an opportunity to obtain discovery regarding Plaintiffs’
    specific claims and the bases for them, Defendants are willing to discuss mediation.

15. A Magistrate Judge of this Court may now hear jury and nonjury trials. Indicate
    the parties’ joint position on a trial before a Magistrate Judge.

    Response: Defendants will not consent to have this matter heard by a Magistrate Judge.

16. Identify any party that has made a jury demand and whether it was timely.

    Response: Plaintiffs filed a jury demand with their original complaint in the state court,
    and Defendants agree that it was filed timely.

17. Specify the number of hours it will likely take to present the evidence at trial in this
    case.

    Response: Defendants will need to review Plaintiffs’ anticipated amended pleading adding
    additional parties before determining the length of the trial. The parties have agreed to
    negotiate regarding the process for selecting one or more Plaintiffs for trial.

18. List pending motions the Court could resolve at the initial pretrial conference.

    Response: Plaintiffs anticipate filing a motion to remand.

19. List other pending motions.

    Response: None.

20. List all other matters that deserve attention of the Court at the initial pretrial
    conference.




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    Response: Plaintiffs will be filing a motion to remand. Defendants’ position is that the
    Court should consider entry of the Lone Pine order. Further, Defendants’ position is that
    the Court should consider the need to amend the scheduling order if Plaintiffs add
    additional plaintiffs, as they state they intend to do.

21. Complete and attach a proposed scheduling and docket control order where
    necessary to suggest modifications to the Court’s standard order. Clearly indicate
    any disagreements with reasons in support of the requests made.

    Response: The parties have a disagreement over whether the Court should issue a new
    Scheduling Order in light of the addition of over 90 plaintiffs to this matter in the near
    future.

22. Certify that all parties have filed the Disclosure of Interested Persons as directed
    in the Order for Conference and Disclosure of Interested Persons, listing the date
    of filing for original and any amendments.

    Response: The parties have filed the required Disclosure of Interested Persons.

23. If the case involves an unincorporated entity as a party, such as an LLC or LLP,
    state the citizenship of every member. As an attachment to this joint filing, such
    party must file an affidavit or declaration establishing the citizenship of every
    member.

    Response: Defendant PBW is a Texas LLC. Its sole member is a citizen of the State of
    Georgia. See attached declaration

24. List the names, bar numbers, addresses, telephone numbers, and e-mails of all
    counsel and unrepresented parties.

    Response:

          a. Counsel for Plaintiffs:
             Wayne D. Collins
             Afton J. Parker
             W.D. COLLINS LAW FIRM PLLC
             5535 Memorial Drive, Suite F, Box 1102
             Houston, Texas 77007
             wayne@wdcollins.co
             afton@wdcollins.co
             281-712-1197

          b. Counsel for Defendant Union Pacific Railroad Company:
             Earnest W. Wotring


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       Attorney-in-Charge
       Texas Bar No. 22012400
       Southern District No. 15284
       Debra Tsuchiyama Baker
       Texas Bar No. 15089600
       Southern District No. 6943
       John Muir
       Texas Bar No. 134630477
       Southern District No. 9404
       David George
       Texas Bar No. 00793212
       Southern District No. 19330
       BAKER • WOTRING LLP
       700 JPMorgan Chase Tower
       600 Travis St.
       Houston, Texas 77002
       713-980-1700
       ewotring@bakerwotring.com
       dbaker@bakerwotring.com
       jmuir@bakerwotring.com
       dgeorge@bakerwotring.com

       Elena A. Knezek
       KNEZEK LAW
       Louisiana Bar No. 26787
       Admitted Pro Hac Vice
       95 Wood Crossing, Suite 100
       Lafayette, Louisiana 70508
       337-266-2233
       elena@knezeklaw.com

    c. Counsel for Defendant         Environmental   Resources Management
       Southwest, Inc.:
       Mike Stenglein
       Attorney-in-Charge
       Texas Bar No. 00791729
       Edward F. Fernandes
       Texas Bar No. 06932700
       KING & SPALDING LLP
       500 W. 2nd Street
       Austin, Texas 78701
       mstenglein@kslaw.com
       efernandes@kslaw.com
       512-457-2100


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        Elizabeth Robertson Taber
        Texas Bar No. 24060502
        Erich J. Almonte
        Texas Bar No. 24100116
        Mitchell B. Bryant
        Texas Bar No. 24103534
        KING & SPALDING LLP
        1100 Louisiana, Suite 4100
        Houston, Texas 77002
        etaber@kslaw.com
        mbbryant@kslaw.com
        713-751-3290

     d. Counsel for Defendant Pastor, Behling & Wheeler, LLC:
        Don Jackson
        Texas Bar No. 10476000
        donjackson@warejackson.com
        Kiara C. Gradney
        Texas Bar No. 24097754
        kiaragradney@warejackson.com
        WARE, JACKSON, LEE, O’NEILL, SMITH & BARROW, LLP
        2929 Allen Parkway, 39th Floor
        Houston, Texas 77019
        713-659-6400

        David A. Dial
        Georgia Bar No. 220329
        Admitted pro hac vice
        ddial@wwhgd.com
        William J. Sheppard
        Georgia Bar No. 641980
        Southern District Bar No. 3443319
        wsheppard@wwhgd.com
        Weinberg, Wheeler, Hudgins, Gunn & Dial, LLC
        3344 Peachtree Road, Suite 2400
        Atlanta, Georgia 30326
        (404) 876-2700




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                             Respectfully submitted,

August 16, 2021              /s/ Wayne D. Collins
Date                         Wayne D. Collins
                             Afton J. Parker
                             W.D. COLLINS LAW FIRM PLLC
                             5535 Memorial Drive, Suite F, Box 1102
                             Houston, Texas 77007
                             wayne@wdcollins.co
                             afton@wdcollins.co
                             281-712-1197
                             Attorney for Plaintiffs

August 12, 2021              /s/ Earnest W. Wotring
Date                         Earnest W. Wotring
                             Attorney-in-Charge
                             Texas Bar No. 22012400
                             Southern District No. 15284
                             BAKER • WOTRING LLP
                             700 JPMorgan Chase Tower
                             600 Travis St.
                             Houston, Texas 77002
                             Tel: (713) 980-1700
                             Fax:(713) 980-1701
                             ewotring@bakerwotring.com
                             Attorney for Defendant
                             Union Pacific Railroad Company

August 12, 2021              /s/ Don Jackson
Date                         Don Jackson
                             Attorney-in-charge
                             Texas Bar No. 10476000
                             WARE, JACKSON, LEE,
                             O’NEILL, SMITH &
                             BARROW, LLP
                             2929 Allen Parkway, 39th
                             Floor
                             Houston, Texas 77019
                             713-659-6400
                             donjackson@warejackson.com
                             Attorney for Defendant
                             Pastor, Behling & Wheeler




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August 12, 2021                    /s/Mike Stenglein
Date                               Mike Stenglein
                                   Texas Bar No. 00791729
                                   Edward F. Fernandes
                                   Texas Bar No. 06932700
                                   KING & SPALDING LLP
                                   500 W. 2nd Street
                                   Austin, Texas 78701
                                   mstenglein@kslaw.com
                                   efernandes@kslaw.com
                                   512-457-2100
                                   Attorney for Defendant Environmental
                                   Resources Management Southwest, Inc .




                                CERTIFICATE OF SERVICE

       I certify that on August 17, 2021, I served the above document on all counsel of
record through the Court’s ECF system.

                                   /s/ David George
                                   David George




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